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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.: 16-cv-21301-GAYLES

 SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,

 V.

 ARIEL QUIROS,
 WILLIAM STENGER,
 JAY PEAK, INC.,
 Q RESORTS, INC.,
 JAY PEAK HOTEL SUITES L.P.,
 JAY PEAK HOTEL SUITES PHASE II. L.P.,
 JAY PEAK MANAGEMENT, INC.,
 JAY PEAK PENTHOUSE SUITES, L.P.,
 JAY PEAK GP SERVICES, INC.,
 JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
 JAY PEAK GP SERVICES GOLF, INC.,
 JAY PEAK LODGE AND TOWNHOUSES L.P.,
 JAY PEAK GP SERVICES LODGE, INC.,
 JAY PEAK HOTEL SUITES STATESIDE L.P.,
 JAY PEAK GP SERVICES STATESIDE, INC.,
 JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
 AnC BIO VERMONT GP SERVICES, LLC,

            Defendants, and

  JAY CONSTRUCTION MANAGEMENT, INC.,
  GSI OF DADE COUNTY, INC.,
  NORTH EAST CONTRACT SERVICES, INC.,
  Q BURKE MOUNTAIN RESORT, LLC,

            Relief Defendants.

  Q BURKE MOUNTAIN RESORT, HOTEL
  AND CONFERENCE CENTER, L.P.
  Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

            Additional Receivership Defendants'


                 NOTICE OF FILING RECEIVER'S FOURTH INTERIM REPORT




  'See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No.: 60].


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          Michael I. Goldberg ("Receiver"), through undersigned counsel, hereby gives notice of

 the filing of Receiver's Fourth Interim Report dated January 10, 2018.


                                                 Respectfully submitted,

                                                   /s/ Michael I. Goldberg
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                                                 Fort Lauderdale, FL 33301-2999
                                                 Telephone (954) 463-2700
                                                 Facsimile: (954) 463-2224
                                                 Court Appointed Receiver



                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

  January 10, 2018 via the Court's notice of electronic filing on all CM/ECF registered users

  entitled to notice in this case as indicated on the attached Service List.



                                                 By: /s/ Michael I. Goldberg
                                                    Michael I, Goldberg, Esq.




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                                         SERVICE LIST

 1:16-cv-21301-DPG Notice will be electronically mailed via ClVI/ECF to the following:

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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.: 16-cv-21301-GAYLES


  SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

  V.

  ARIEL QUIROS,
  WILLIAM STENGER,
  JAY PEAK, INC.,
  Q RESORTS, INC.,
  JAY PEAK HOTEL SUITES L.P.,
  JAY PEAK HOTEL SUIFES PHASE II. L.P.,
  JAY PEAK MANAGEMENT, INC.,
  JAY PEAK PENTHOUSE SUITES, L.P.,
  JAY PEAK GP SERVICES, INC.,
  JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
  JAY PEAK GP SERVICES GOLF, INC.,
  JAY PEAK LODGE AND TOWNHOUSES L.P.,
  JAY PEAK GP SERVICES LODGE, INC.,
  JAY PEAK HOTEL SUITES STATESIDE L.P.,
  JAY PEAK GP SERVICES STATESIDE, INC.,
  JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
  AnC BIO VERMONT GP SERVICES, LLC,

           Defendants, and

  JAY CONSTRUCTION MANAGEMENT, INC.,
  GSI OF DADE COUNTY, INC.,
  NORTH EAST CONTRACT SERVICES, INC.,
  Q BURKE MOUNTAIN RESORT, LLC,

           Relief Defendants.

  Q BURKE MOUNTAIN RESORT, HOTEL
  AND CONFERENCE CENTER, L.P.
  Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

           Additional Receivership Defendants'


                                RECEIVER'S FOURTH INTERIM REPORT



  'See Order Granting Receiver's Motion to Expand Receivership dated April 22, 2016 [ECF No.: 60].




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          Michael I. Goldberg, in his capacity as receiver (the "Receiver") of Jay Peak, Inc., Q

  Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites Phase IT L.P., Jay Peak

  Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay Peak Golf

  and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse

  L.P., Jay Peak GP Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services

  Stateside, Inc., Jay Peak Biomedical Research Park L.P., AnC Bio Vermont GP Services, LLC

  (collectively, the "Receivership Defendants") and Jay Construction Management, Inc., GSI of

  Dade County, Inc., North East Contract Services, Inc., and Q Burke Mountain Resort, LLC

  (collectively, the "Relief Defendants") and Q Burke Mountain Resort, Hotel and Conference

  Center, L.P. and Q Burke Mountain Resort GP Services, LLC (together, "Additional

  Receivership Defendants") (the Receivership Defendants, Relief Defendants, and Additional

  Receivership Defendants shall collectively be referred to as the "Receivership Entities"), by and

  through undersigned counsel, and pursuant to the Order Granting Plaintiff Securities and

  Exchange Commission's Motion for Appointing Receiver, dated April 13, 2016 (the

  "Receivership Order") [ECF No. 13], respectfully files his Fourth Interim Report covering the

  period from June, 2017 up to and including December 31, 2017.2

                                      PRELIMINARY STATEMENT

          The Receiver has received the $150 million settlement payment from Raymond James &

  Associates, Inc., and has initiated the payments to the investors and creditors required under the

  settlement agreement as set forth in detail below. The Receiver, with the assistance of his

  management company, Leisure Hotels LLC and the management and staff at the Jay Peak



  2For the purpose of brevity, the Receiver has endeavored not to restate information contained in the prior Status
  Reports, but refers all interested parties to those Status Reports for additional infounation including a detailed
  description of the Receivership Defendants and the events that led up to the appointment of the Receiver.


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  Resort, and the Burke Mountain Hotel, continues to work to improve the ski resorts and related

  facilities to enhance their operations and value, and achieve the job creation needed by investors

  to qualify for citizenship.

  I. BACKGROUND

          On April 12, 2016, the Securities and Exchange Commission ("SEC") filed a complaint

  [ECF No. 1] ("Complaint") in the United States District Court for the Southern District of

  Florida (the "Court") against the Receivership Defendants, Defendant, William Stenger

  ("Stenger") and Defendant Ariel Quiros ("Quiros") (collectively, the "Defendants"), and the

  Relief Defendants, The Complaint alleged that Quiros and Stenger, in violation of federal

  securities laws, controlled and utilized the various Receivership Entities in furtherance of a fraud

  on the investors who participated in limited partnerships offered under the federally created EB-5

  visa program, and seeks various forms of relief, including appointment of the Receiver. The first

  six limited partnerships were used to develop and expand the Jay Peak Resort located in Jay,

  Vermont (the "Jay Peak Resort"). The seventh limited partnership raised funds to purchase land

  and develop a biomedical research facility in Newport, Vermont. The eighth limited partnership

  was used to develop and expand the Burke Mountain Hotel and ski area located in East Burke,

  Vermont (the "Burke Mountain Resort").

          Along with the Complaint, the SEC requested the Court to enter a temporary restraining

  order and a preliminary injunction preventing the Receivership Defendants from, among other

  things, transferring or otherwise utilizing their assets. On April 13, 2016, the Court entered the

  Receivership Order [ECF No. 11] and granted the SEC's Emergency Ex Parte Motion for

  Temporary Restraining Order, Asset Freeze and Other Relief [ECF No. 4]. Among other things,




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  the Receivership Order appointed Michael Goldberg as the receiver over the Receivership

  Defendants and the Relief Defendants.

           Upon the SEC's Unopposed Motion for Peimanent Injunction for Entry of Judgment of

  Permanent Injunction and Other Relief against Defendant Aridl Quiros [ECF No. 394], on

  August 23, 2017, the Court entered a Judgment of Permanent Injunction and Other Relief against

  Ariel Quiros [ECF No. 398].3 The only issues remaining for the Court's determination against

  Quiros is the amount of disgorgement, whether to impose a civil penalty, and the amount of the

  penalty. The SEC and Quiros have tentatively reached a settlement of these issues, pending final

  approval of the settlement by the SEC and the Court.

  II.      ACTIONS TAKEN BY THE RECEIVER DURING THE REPORTING PERIOD

           A.      Claims

           On June 30, 2017 [ECF No. 353], the District Court approved the settlement which the

  Receiver and other parties reached with Raymond James & Associates, Inc. ("Raymond James"),

  whereby Raymond James agreed to pay $150 million (in two tranches) in exchange for an order

  barring all claims against Raymond James (the "RJ Settlement").4 The vast majority of the

  proceeds of the RJ Settlement are earmarked to pay the claims of the creditors of the

  Receivership Entities, reimburse investors who will be unable to obtain their citizenship, and

  provide benefit to other investors through improvements to the value of the receivership

  properties. Moreover, the RJ Settlement provides a source of funds for the Receiver to continue

  construction and operations at the resorts in order to create additional jobs to provide investors




    Stenger previously agreed to the entry of a permanent injunction as to him. See ECF Nos. 48 and 51.
  4 The Receiver, through special counsel, filed a lawsuit against Raymond James and Quiros' former son-in-law, Joel
  Burstein, who was a branch manager at Raymond James, and the employee responsible for servicing Quiros'
  financial needs (Case No. 1:16-cv-21831-JAL) (the "Raymond James Action") for among other causes of action,
  aiding and abetting breach of fiduciary duty.


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  with a better opportunity to obtain their permanent residency. The Receiver has received all of

  the funds due under the RJ Settlement and has begun implementing its terms.

                    I,      Phase I

           Thirty-five individuals invested $17.5 million through Receivership Defendant Jay Peak

  Hotel Suites ("Phase I") to build the Tram Haus Lodge at the base of the Jay Peak Mountain.

  Constructed in 2008, the Tram Haus Lodge is the first hotel at the Jay Peak Resort. In 2014,

  Quiros converted the investors in this project from equity holders to debt holders and issued each

  investor a promissory note in exchange for their equity. At the time, many of these investors

  complained about losing their equity and threatened legal action. At the start of the receivership,

  there was $14,666,879 in principal due to the Phase I investors. Under the settlement agreement,

  Raymond James paid the Receiver $15,391,386.47 earmarked to pay the Phase I investors the

  balance due under their notes in full and final satisfaction of any and all claims they have against

  Raymond James and the Receivership Entities. The Receiver paid the sums due to the Phase I

  investors and these investors are no longer creditors of the receivership estate.

                   2.       Phase II — V

          Phases II through V consist of those individuals who invested in the partnerships5 that

  built the remaining phases of the Jay Peak Resort (excluding the Stateside Hotel). These

  partnerships funded the Jay Hotel, the water park, the golf course, the hockey rink and the Golf

  and Mountain Villas, among other assets. As of the commencement of the receivership,

  approximately $5.1 in outstanding trade debt related to these projects was owed to various trade

  creditors. Raymond James paid the Receiver $5.1 million under the RJ Settlement to satisfy these




  5The pat iierships are Receivership Defendants Jay Peak Hotel Suites Phase Ii L.P., Jay Peak Penthouse Suites L.P.,
  Jay Peak Golf and Mountain Suites L.P., and Jay Peak Lodge and Townhouses L.P.


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   outstanding trade payables. As of the filing of this report, the Receiver has fully paid the trade

   vendors their past due receivables.

                   3.       Phase VI

           Phase VI consists of the investors who invested in the Jay Peak Hotel Suites Stateside

   L.P. ("Phase VI") which raised money to build the Stateside Hotel, 84 cottages, a recreational

   center and a medical center (collectively, the "Stateside Project"). As of the date of the

   commencement of the receivership, only the Stateside Hotel was completed and 35 cottages were

   partially constructed. Construction of the medical and recreational centers were not even

   commenced. Moreover, Phase VI owed the contractors that built the Stateside Hotel and worked

   on the cottages approximately $2.2 million, which resulted in claimed liens against the Jay Peak

   Resort. Due to Quiros' diversion of funds and the concomitant lack of funds to complete these

   projects, there were no available funds to complete Phase VI and not enough jobs to satisfy the

   ten job creation requirement for each Phase VI investor.

           The RJ Settlement provided the Receiver with $19,687,000 to complete construction of

   the Stateside Project, which is necessary for Phase VI Investors to become eligible for permanent

   residency and pay off all construction liens encumbering the Stateside Project. The Court

   approved a modified plan for completion of the construction [ECF No. 330], whereby the

   Receiver reduced the number of cottages to be completed from 84 to 60 and eliminated the plans

   to build a medical center. Instead, the Receiver is using these savings to build a more

   comprehensive recreational center as well as soccer and lacrosse fields. The Receiver and his

   hospitality experts believe that this will help improve occupancy in the slower summer months

   and in turn increase revenue and profitability. As of the date of this report, the Receiver has paid

   the Stateside Project's contractors their past due receivables. In December 2017, the 60 cottages




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   and the recreational center were completed. Construction of the Soccer and Lacrosse fields are

   expected to begin in April 2018 and be completed by mid-September 2018. Although the United

   States Citizenship and Immigration Services ("USCIS") has started approving Phase VI

   investors' 1-829 petitions, the USCIS has also issued some Phase VI investors "Notices of Intent

   to Deny" ("NOIDS") their 1-829 petitions due to USCIS's belief that the Stateside Project did not

   create enough jobs. The Receiver and his immigration counsel believe that USCIS's position

   was based on outdated info illation. Accordingly, the Receiver and his immigration counsel

   worked with the Stateside Project's accountants and economists in formulating a template reply

   setting forth the most up to date information. This template has been provided and is available to

   all Phase VI investors who receive a NOID. This new information evidences that the Stateside

   Project has created enough jobs for all Phase VI investors and the Receiver is hopeful that

   USCIS will soon start once again approving Phase VI investors' I-829s.

                   4.      Phase VII

           Receivership Defendant, Jay Peak Biomedical Research Park, L.P. (the "AnC

   Partnership") solicited funds from investors (the "Phase VII Investors") for what was purportedly

   going to be a biomedical research facility to be built in Newport, Vermont. As of the

   commencement of the Receivership, only approximately $5.5 million in construction had taken

   place on the biomedical research facility and most of the money raised from the Phase VII

   Investors had been wrongfully diverted. The Receiver was able to recover approximately $17.8

   million remaining in escrow in one of the bank accounts frozen by the Court. With the Court's

   approval, the Receiver returned escrow funds to 36 of the Phase VII Investors whose funds were

   traced to the escrow account. Those investors fully assigning any claims they have against the

   Receivership Entities and third parties to the Receiver.




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           There remains 134 Phase VII investors whose funds are missing. The RJ Settlement

   earmarked $67 million to provide refunds of all principal investments for the qualifying Phase

   VII investors (and allow them to retain a claim for the potential return of their administrative

   fees). For the Phase VII investors who have already been approved as a conditional resident, the

   Receiver has provided them with the potential alternative whereby the investor funds can be

   redeployed to another qualifying project for the remainder of the sustainment period. However,

   in order to maintain their place in line, the funds must be transferred directly from the AnC

   Partnership to a new project.

           The Receiver has contacted the Phase VII Investors and infoimed them of the option to

   redeploy their principal investment. Thus far, 16 Phase VII Investors have elected to receive a

   refund; 17 have not responded; and 50 Phase VII investors have elected to have their funds held

   in escrow by the Receiver pending potential redeployment. Although the Receiver had originally

   planned to allow each investor to choose his or her own project to redeploy their investment,

   after consultation with his counsel, the Receiver has determined that redeployment into multiple

   projects is not feasible because Vermont law (pursuant to which the AnC Partnership was

   created) only pet nits a single series of partners. The Receiver expects to file a motion seeking

   approval of this redeployment plan shortly.

                   5.       Phase VIII

           Phase VIII consists of 121 investors who invested through Burke Mountain Resort, Hotel

   and Conference Center, L.P. ("Phase VIII") to build the hotel and conference center. Originally,

   it was intended that this project would consist of a hotel and conference center, an aquatic center,

   a tennis center and a mountain bike facility. However, as of the commencement of the

   receivership, only the hotel and conference center were completed. Moreover, at the




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   commencement of the Receivership there was $3.6 million in unpaid contractor claims for which

   liens have been filed and millions in unpaid trade vendor claims. Moreover, due to the lack of

   liquidity caused by his diversion of funds, Quiros was forced to assume a $3 million obligation

   to the Burke Mountain Academy ("BMA"), who is the prior owner of the property. Finally, three

   of the investors did not qualify for their 1-526 petitions. Thus, there are currently 118 "active"

   investors in this project and a total of $8.1 million owed to contractors, BMA, and investors no

   longer pursuing their immigration status.

             Pursuant to the Settlement Agreement, Raymond James has paid the Receiver enough

   funds to satisfy the $3.6 million unpaid contractor claims, the $3 million owed to BMA, and the

   $1.5 million owed to inactive investors.6 As of the date of this report, the Receiver has paid the

   contractors their past due receivables, has satisfied all past due trade debt and is in the process of

   paying off the sum due to BMA, which was reduced from nearly $3 million to approximately

   $1.9 million per agreement approved by the Court. See ECF No. 385. The money saved was used

   to construct a new ski lift and improve snowmaking capacity. These projects were completed in

   December 2017 and should help create additional jobs.

           Last year, in its first year of operation, the Burke Hotel operated at an approximate $2

   million loss. Operational losses for a new hotel in its first year of operations is normal and

   expected. This year, the Burke Hotel is budgeted to increase revenue and to operate near

   breakeven. The Receiver believes that this increase in projected revenue will create additional

   jobs that will enable additional investors to qualify for their green card. Importantly, the

   Receiver is extremely happy to report that USCIS just recently started approving petitions of

   Phase VIII investors.

   6 The owner has agreed to reduce the amount owed to it from $3 million to $2 million provided the Burke Hotel
   replaces an old ski lift, which will cost the Burke Hotel $1 million. This will greatly benefit the Burke Hotel and in
   turn Phase VIII investors.


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            B.       Management of Vermont Properties

            The Receiver, with the assistance of the court-approved management company, Leisure

   Hotels, LLC ("Leisure") continue to operate the Jay Peak Resort and the Burke Mountain Resort.

   Jay Peak Resort's General Manager, Steven Wright and Burke Mountain Resort's General

   Manager, Kevin Mack also play an important role in the management of the resorts. The

   Receiver confers with the Leisure management team on a regular basis to monitor the hotels'

   operations. Please see the Financial Affairs section of this report for more detailed information

   on the financial condition of the Jay Peak Resort and the Burke Mountain Resort.

                     1.        Repairs to Water Park

            The Receiver has previously reported that the duct system at the water park at the Jay

   Peak Resort — known as the Pump House — needed to be replaced, at a cost of approximately

   $300,000. The Receiver is seeking to recover those costs from the parties responsible for the

   initial design and construction. The Receiver attended mediation in an attempt to resolve

   Receiver's claims related to defects in the construction of the duct socks. Although the dispute

   was not resolved during mediation, the parties responsible for the initial design and construction

   have subsequently agreed to pay $225,000 towards the repair costs.7

                     2.         Antenna

            The Receiver is negotiating easements with telecommunication providers to locate a cell

   phone antenna at the Burke Mountain Resort, in exchange for monthly rent payments, which will

   provide an additional source of revenue.




    As of the date of this report, the settlement is still in the process of being finalized.


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                   3.      IRS/restructuring

           The Receiver received Notices of Audit from the Internal Revenue Service ("IRS") and

   notices of its intention to fine the Receivership Entities for failure to file or late filings, based on

   pre-receivership events. In order to reduce the potential penalties and costs, the Receiver and his

   accountants engaged in numerous conferences with the IRS and gathered documents requested

   by the IRS.

                   4.      Employment Compliance

           As part of his efforts to streamline the operations of the Receivership Entities and comply

   with various employment laws, the Receiver has worked with the management staff at the resorts

   to prepare or update the employee benefit plan, plan participation rules and a cafeteria plan.

           C.      Immigration Issues

                   The Receiver continues to work with his immigration attorneys to gather and

   analyze information regarding job creation needed by the investors to fulfill their reporting

   requirements to the USCIS in order to obtain their I-829s. Immigration counsel, H. Ronald

   Klasko and his law firm continue to assist the Receiver in preparing the necessary papers in order

   for investors to properly respond to USCIS's request for information and documentation

   supporting their various 1-526 and 1-829 petitions.

           D.      Litigation and Third Party Claims

                   1.      Quiros

           Quiros, by himself, with his wife, or through corporations own numerous properties

   located in Veiniont, Florida and elsewhere. These properties are subject to the asset freeze. The

   Receiver and the SEC believe that certain of the properties and other business interests were

   purchased and/or maintained with investor funds. Quiros, through his counsel, contacted the




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   Receiver and expressed his interest in paying the real property taxes and other required expenses

   for certain properties in which he has an ownership interest. The Receiver had also been

   contacted by creditors of businesses relating to Quiros, demanding payment of similar expenses.

            The Receiver may have a claim to the properties, which would ultimately inure to the

   benefit of investors. Accordingly, upon requests of the Receiver, on August 23, 2017 [ECF No.

   399] and again on September 1, 2017 [ECF No. 410], the Court entered Orders authorizing the

   Receiver to use Quiros' tax refund8 to pay real estate taxes, association fees and rent for the real

   properties. Payment of these obligations has suspended impending tax sales of certain of the

   properties. The Receiver believes it is in the best interest of the Receivership Estate to maintain

   the properties and preserve the status quo until the Court makes a final determination with regard

   to the claims against Quiros in this case and the underlying properties.

            Moreover, upon request of the SEC, the Court entered an Order modifying the asset

   freeze to allow Quiros to turn over certain of the properties to the Receiver, including: (i) the

   parcels in downtown Newport, Veithont which Quiros intended to redevelop as part of a

   proposed EB-5 offering that was not yet underway, which is just a fenced-in construction site;

   (ii) land outside of Newport known as the Bogner property where the Phase VII biomedical

   research center was to be built; and a residential condominium located at 400 Fifth Avenue, in

   New York City (formerly referred to as the Setai) (the "NY Condominium"). Quiros has

   executed quitclaim deeds transferring the properties to the Receiver. The Receiver subsequently


   8 Earlier this year, Quiros received a refund check from the IRS in the amount of $942,250.36 (the "Tax Refund").
   The refund check was directed to Quiros and his wife, jointly. The Receiver and the SEC asserted that the Tax
   Refund is subject, in its entirety, to the Court's Asset Freeze Order. Quiros asserted that only half of the Tax Refund
   is subject to the asset freeze. In the interest of avoiding costly litigation over the issue, Quiros, the SEC, and the
   Receiver agreed that Quiros will endorse the entire check to the Receiver to be held in the Receiver's law firm trust
   account pending a final determination regarding disposition of the Tax Refund. In addition to use of the Tax Refund
   for payment of property expenses, the Court has approved payment of $275,000 from the Tax Refund for Quiros'
   attorneys' fees. The Receiver seeks to recover those funds from Quiros' insurer, Ironshore Indemnity Company in a
   related case. (In the case Quiros v. Ironshore Indemnity, Inc., Case No. 16-25073 (the "Ironshore Case"), Quiros
   sued his insurer to cover the costs of his legal defense.)


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   paid the property taxes on the properties and is currently marketing the properties for sale. The

   Receiver believes there is equity in the properties.

           The Court previously authorized Quiros to sell or mortgage the NY Condominium and

   use the proceeds from that mortgage to pay his living expenses of $15,000 per month and

   reasonable attorney's fees subsequently awarded by the Court. Thereafter, Quiros borrowed $1.5

   million and the lender placed a first mortgage on the property, which was scheduled to mature on

   August 9, 2017. On July 31, 2017, the Court entered an Order authorizing the Receiver to pay

   off the mortgage at maturity using the remaining proceeds of the mortgage and other receivership

   funds. The Receiver believes there is sufficient equity in the NY Condominium to recoup the

   receivership funds used to pay off the mortgage.

           Finally, as previously mentioned, the SEC has recently entered into a settlement

   agreement with Quiros, subject to the SEC's and the Court's final approval. The Receiver is

   separately negotiating a settlement with Quiros.

                   2.      Document Recovery

           The Receiver continues to maintain and update an electronic database to store documents

   produced by financial institutions and recovered from the files of the Defendants. With the

   assistance of his forensic accountants and special counsel, the Receiver continues to analyze the

   business records and documents produced in response to subpoenas duces tecum in order to

   identify concealed or fraudulently transferred receivership assets and causes of action. The

   Receiver intends to pursue recovery of fraudulently transferred assets or the proceeds thereof

   from third parties.




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   III. FINANCIAL AFFAIRS9

            A.       Bank Accounts

            The Receivership Entities' financial accounts were frozen pursuant to the Receivership

   Order. The Receivership Order also provides the Receiver with control and signatory authority

   for all financial accounts. See Receivership Order, 11 7. The Receiver and his staff maintain

   receivership bank accounts and pay administrative expenses. The Receiver's staff has opened

   new bank accounts for the purpose of segregating the proceeds of the RJ Settlement and

   distributing payment to investors, contractors and other creditors.

            Attached to this Report as Exhibit "A" is a Standard Fund Accounting Report ("SFAR")

   for the third quarter of 2017 and cash flow statements through October 2017 for the operating

   Receivership Entities detailing the Receivership Entities business operations.1°

            B.       Jay Peak Resort

                     1.        Sales Outlook

            April brought an end to the ski and snowboard season with Jay Peak Resort setting all-

   time records in terms of gross revenue ($51 million), and EBITDA ($8 million). Jay Peak Resort

   also achieved record retail sales and waterpark revenue. Lift ticket sales reached an all-time high

   of $9 million and the ski and snowboard school sales hit an all-time high of $1.1 million. May

   2017 kicked off both Jay Peak Resort's general summer and specific wedding season. Expanded

   hockey tournaments were integrated into the May budget due to expanded sales initiatives that

   helped enhance lodging revenue and associated business.




   9 Because this receivership involves operating entities, the confidentiality of the Receivership Entities' financial data
   is important. Accordingly, the Receiver has not attached detailed financial statements to this report, but has instead
   provided a general summary. Should the Court want to review such detailed financial data, the Receiver shall
   provide the information to the Court in-camera.
   10 The Receiver will separately file the SFAR for the fourth quarter of 2017 and more recent cash flow reports.


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           Leisure continued to work with Jay Peak Resort staff to drive more revenue into the

   summer season, which is typically a low sales generation time period. Unfortunately, May, June,

   and early July 2017 experienced above-average rainfall, especially on weekends, which led to

   lower than budgeted revenue for golf, retail, golf-related lodging and associated food and

   beverage revenue. By the end of June, Jay Peak Resort's revenue was $300,000 under budget,

   which carried over into July in a similar fashion with rain and cold weather affecting associated

   outdoor sales and music events.

           The advance season pass sales began in July with very favorable results. Jay Peak Resort

   is currently $150,000 ahead of budgeted sales. Leisure is forecasting that this will increase an

   additional $50,000 by the time season pass sales momentum slows following the Christmas

   holiday period. August through November is when half of Jay Peak Resort's annual lodging-

   based package revenue is prebooked for the winter season. The Jay Peak Resort is pacing higher

   than prior years as a result of better performance from the early-season package marketing and

   associated mailings (ahead of pace by $385,000). However, recent record low temperatures have

   hurt day skier visits which may impct this year's profitability. The Receiver is hopeful that the

   Jay Peak Resort will make up for this reduction in revenue in the upcoming months.

                   2.      TRAM Upgrade

           The mandatory TRAM upgrade that commenced in 2016 was completed in June 2017.

   The TRAM, which is a Jay Peak Resort hallmark within the area, incurred significant mechanical

   and electrical system upgrades. This also allows the TRAM to now operate twice as fast and

   carry significantly more people on each ride and has been favorably received by Jay Peak

   Resort's customers.




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                   3.      2017 Capital Expenditure Projects

           Extensive analysis was performed on Jay Peak Resort's capital assets with an emphasis

   placed on life safety, customer satisfaction and revenue generating projects. Jay Peak Resort is

   expending approximately $2 million on various upgrades and replacements out of operating cash

   flow generated in the prior ski season that will enhance a positive customer experience and result

   in cost savings. Projects include, but are not limited to, enhanced snow making, significant

   repairs/upgrades to facilities, on-line booking system upgrades, energy enhancements, upgrades

   to J1 Visa employee housing, Stateside laundry upgrades, stoiiii water upgrades, ski lift

   mechanical and communication upgrades, wifi upgrades, and installation of document imaging

   within the human resources and accounting departments. The capital expenditure budget also

   includes upgrades, replacements and heavy maintenance for the Wilderness Village water

   systems. Additionally, several leased vehicles have been replaced with new leases that will

   increase productivity, lower maintenance and repair costs, and enhance customer satisfaction.

                   3.      Construction Projects

           Construction of the Stateside cottages and recreation center re-commenced in May 2017

   and is tracking on budget and within the scheduled timeline. Planning and peimitting for the new

   soccer and lacrosse fields is underway with construction anticipated to commence just after the

   end of the next ski season in 2018. The total combined budget for these three initiatives is

   approximately $20.3 million. The recreation center is scheduled to debut over the winter months

   and will include rock climbing, ropes course, movie theater, and restaurant and bar operations.

   The new Stateside cottages will include new lodging for customers in addition to employee

   housing.




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                   4.       Third Party Servicing

           Significant effort was spent analyzing Jay Peak Resort's servicing of six homeowner

   associations' common elements in addition operations of the condominium rental program. Jay

   Peak Resort has been significantly undercharging for services and in some cases, Jay Peak

   Resort has not charged for such services. New procedures have been implemented to move Jay

   Peak Resort toward charging market rates for labor and materials provided to third parties in a

   consistent manner.

           C.      Burke Mountain Resort

           Operations and amenities for the Burke Mountain Resort are significantly smaller than

   that of the Jay Peak Resort and consist primarily of a smaller ski resort operations, one hotel

   lodging facility with limited meeting and food service, summer biking and campground

   operations. The Burke Mountain Resort experienced ski revenue in excess of budget and the

   longest ski season experienced within the past 15 years. Ski revenue ended up 9% over budget at

   approximately $1.9 million. Revenue from the new lodge that opened just prior to the beginning

   of last year's ski season continues to ramp up slowly due primarily to lack of associated

   amenities within the area. Mountain bike operations commenced May 27 and ended October 9

   and met biker visit counts with revenue slightly lower than budget.

                   1.      Sales Outlook

           A new T-bar lift was just completed and will expand the ski experience for Burke

   Mountain Resort's customers. The lodge is entering its second year of operations and will

   continue to ramp up toward stabilization which typically occurs within the third year. Several

   new mountain bikes were added to inventory which helped increase customer satisfaction during




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   the summer season. The advance season pass sales are trending higher than the prior year, which

   provides a favorable outlook for the ski season.

           During the budgeting session for the fiscal year ending September 2018, several

   initiatives have been identified to drive incremental revenue with significant emphasis placed

   upon the Lodge. The immediate goal for Burke Mountain Resort is for operations to break-even.

                   2.      2017 Capital Expenditure Projects

           Significant expenditures were made last year to complete the lodge including parking

   which was not part of the original construction plan. Two significant capital projects have

   recently commenced related to ski operations. As referenced above, a new T-bar lift is being

   built for approximately $1.5 million in addition to expanded snow making projects totaling

   approximately $300,000. Incentives and rebates are being provided by third parties which will

   help offset some of these costs.

           Two of the longest sections of gravel roads were improved through a partnership with the

   Natural Resource Conservation Service. In addition, upgrades to the Burke Mount Resort's

   wastewater operations have greatly enhanced the ability to service the needs of the resort and the

   dozens of homes and condominiums that it serves. Funding for both projects came from a reserve

   account that the Burke Mountain Resort has access to through the Burke Mountain Owner's

   Association. Other capital spending for the Burke Mountain Resort has been limited primarily to

   life safety issues for the next fiscal year.

   IV.     ADMINISTRATION OF THE RECEIVERSHIP ESTATES

           The Receiver continues to utilize the skills of his professionals, including his general

   counsel Akeinian LLP; special litigation and conflicts counsel Jeffrey Schneider and Levine

   Kellogg Lehman Schneider & Grossman LLP; and immigration counsel H. Ron Klasko and




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   Klasko Immigration Law Partners. Soneet Kapila, CPA, and the accounting firm Kapila

   Mukamal provide accounting and forensic work for the Receiver.

           A.      Website/Ongoing Communications

           The Receiver continues to communicate with government officials, creditors, contractors

   and interested parties. The Receiver continues to respond to inquiries, usually through e-mail and

   telephone calls. The Receiver returned to Vermont for meetings with creditors and government

   officials. The Receiver and his staff continue to respond to inquiries from investors, creditors

   and other interested parties. The Receiver continues to maintain a toll-free investor hotline at

   (800) 223-2234, an email address for general inquiries jaypeak@akerman.com, and a website

   www.JayPeakReceivership.com to provide up to date information for investors and interested

   parties. The Receiver has posted copies of court filings, correspondence with investors and other

   pertinent information on the website. The Receiver has also prepared and posted numerous

   updates on his website, including letters to investors. The Receiver will continue to utilize the

   website as the primary method of communicating with investors, creditors and other interested

   parties throughout the receivership.

           B.      Recommendations

           The Receiver continues to secure and maintain the assets of the Receivership Entities,

   analyze the use of the individual partnership funds and respond to inquiries from the investors,

   creditors and other interested parties. The Receiver anticipates taking the following actions: (i)

   continue to operate and maintain the facilities until the best course of disposition is determined

   with the goal of each investor obtaining the highest possible return on their investme I and

   achieving their unconditional green card; (ii) finish construction of the Stateside properties in

   order to create enough jobs for investors to satisfy their EB-5 job creation requirements; (iii)




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   continue to pay the allowed claims of creditors and investors; (iv) investigate and commence

   litigation against third parties who may be liable for the perpetration of the Receivership

   Defendants' fraud; (v) continue to review transfers of the individual partnership funds and seek

   to recover funds which were fraudulently transferred; (vi) respond to inquiries from investors,

   creditors, government officials and interested parties; and (viz) provide updates through the

   receivership website.

   Dated: January 10, 2018.

                                                       Respectfully submitted,

                                                       By: /s/ Michael I Goldberg
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                                                       Email: michael.goldberg@akerman.com
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                                                       Fort Lauderdale, FL 33301-2229
                                                       Telephone: (954) 463-2700
                                                       Facsimile: (954) 463-2224
                                                       Court Appointed Receiver




                                       CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

   January 10, 2018 via the Court's notice of electronic filing on all CM/ECF registered users

   entitled to notice in this case as indicated on the attached Service List.



                                                       By: /s/ Michael I. Goldberg
                                                          Michael I. Goldberg, Esq.




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                                                    SERVICE LIST

       1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

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                         EXHIBIT A
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                               STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                                      SEC v. Quiros, et al.
                                                Case No.: 16-cv-21301-GAYLES
                                           Reporting Period 05/01/2017 to 09/30/2017



              FUND ACCOUNTING (See Instructions):
                                                                                      Detail        Subtotal     Grand Total
              Line 1          Beginning Balance (As of 04/3012017):                                            $ 13,610,221.80
                              Increases in Fund Balance:
              Line 2          Business Income
              Line 3          Cash and Securities (UNrestricted)                 $ 1,144,813.56
              Line 3          Cash and Securities (RESTRICTED)                   $ 126,563,077.29
              Line 4          Interest/Dividend Income                                  56,883.15
              Line 5          Business Asset Liquidation
              Line 6          Personal Asset Liquidation                         $      14,352.42
              Line 7          Third-Party Litigation Income
              Line 8          Miscellaneous - Other
                                Total Funds Available (Lines 1 — 8):                                           $ 143,389,348.22
                              Decreases in Fund Balance:
              Line 9          Disbursements to Investors
              Line 10         Disbursements for Receivership Operations
                  Line 10a    Disbursements to Receiver or Other Professionals
                  Line 10b    Business Asset Expenses                            $ 19,033,514.02
                  Line 10c    Personal Asset Expenses                                   75,000.00
                  Line 10d    Investment Expenses
                  Line 10e    Third-Party Litigation Expenses
                                  1.Attorney Fees                                $ 25,435,169.46
                                  2. Litigation Expenses
                                Total Third-Party Litigation Expenses
                  Line 101 Tax Administrator Fees and Bonds
                  Line lOg Federal and State Tax Payments                              762,073.36
                            Total Disbursements for Receivership Operations                                    $ 45,305,756.84
              Line 11     Disbursements for Distribution Expenses Paid by the Fund:
                  Line ha    Distribution Plan Development Expenses:
                              1.Fees:
                                   Fund Administrator
                                   Independent Distribution Consultant (IOC)
                                   Distribution Agent
                                   Consultants
                                   Legal Advisers
                                   Tax Advisers
                              2. Administrative Expenses
                              3. Miscellaneous
                             Total Plan Development Expenses
                  Line 11 b     Distribution Plan Implementation Expenses:
                                 I. Fees:
                                      Fund Administrator
                                      IOC
                                      Distribution Agent
                                      Consultants
                                      Legal Advisers
                                      Tax Advisers
                                 2. Administrative Expenses
                                 3. Investor Identification:
                                      Notice/Publishing Approved Plan
                                      Claimant Identification
                                      Claims Processing
                                      Web Site Maintenance/Call Center
                                 4. Fund Administrator Bond
                                 5. Miscellaneous
                                 6. Federal Account for Investor Restitution (FAIR)
                                 Reporting Expenses
                                Total Plan Implementation Ex senses
                               Total Disbursements for Distribution Expenses PaidAy the Fund
              Line 12      Disbursements to Court/Other:
                  Line 12a    Investment Expenses/Court Registry Investment
                           System (CRIS) Fees
                  Line 126    Federal Tax Payments
                            Total Disbursements to Court/Other:




                               Total Funds Disbursed (Lines 9— 11):                                            $ 45,305,756.84
              Line 13         Ending Balance (As of 09130/2017):                                               $ 98,083,591.38
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                             STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivershiptl
                                                            SEC v. Quiros, et al.
                                                      Case No.: 16-cv-21301-GAYLES
                                                 Reporting Period 05/01/2017 to 09/30/2017


              Line 14      Ending Balance of Fund — Net Assets:                                                           $             -
                  Line 14a    Cash & Cash Equivalents                                  $              -
                  Use 14b     Investments                                              $              -
                  Line 14c    Other Assets or Uncleared Funds                          $              -
                            Total Ending Balance of Fund — Net Assets                                                     $             -


              OTHER SUPPLEMENTAL INFORMATION:
                                                                                             Detail            Subtotal       Grand Total
                             Report of items NOT To Be Paid by the Fund:
              Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
                  Use 15a    Plan Development Expenses Not Paid by the Fund:
                              1.Fees:
                                  Fund Administrator                            $          -
                                  IDC .                                         $          -
                                  Distribution Agent                            $          .
                                  Consultants                                   $          _
                                  Legal Advisers                                $
                                  Tax Advisers                                  $          -
                              2. Administrative Expenses                        $          .
                              3. Miscellaneous                                  $          -
                             Total Plan Development Expenses Not Paid by the Fund                                         $             -

                  Line 156     Plan Implementation Expenses Not Paid by the Fund'
                                1.Fees:
                                     Fund Administrator                            $          -
                                     IDC...                                        $          -
                                     Distribution Agent                            $          -
                                     Consultants                                   $          -
                                     Legal Advisers                                $          -
                                     Tax Advisers                                  $          -
                                2. Administrative Expenses                         $          -
                                3. Investor Identification:
                                     Notice/Publishing Approved Plan               $          -
                                     Claimant Identification                       $          -
                                     Claims Processing                             $
                                     Web Site Maintenance/Call Center              $          -
                                4. Fund Administrator Bond                         $          -
                                5. Miscellaneous                                   $          -
                                6. FAIR Reporting Expenses                         $          -
                               Total Plan )mplementation Expenses Not Paid by the Fund                                    $             -
                  Use 156      Tax Administrator Fees & Bonds Not Paid by the Fund                                        $             -
                              Total Disbursements for Plan Administration Expenses Not Paid by the Fund                   $             -

              Line 16     Disbursements to Court/Other Not Paid by the Fund:
                  Use 16a    Investment Expenses/CRIS Fees                    $                       -
                  Use 16b    Federal Tax Payments                             $                       -
                           Total Disbursements to Court/Other Not Paid by the Fund:                                       $             -
              Line 17        DC & State Tax Payments                                                                      $             -

              Line 18     No. of Claims:
                  Use 18a    4 of Claims Received This Reporting Period                                                   0
                  Use 18b     if of Claims Received Since Inception of Fund                                               0
              Line 19      No. of ClaimantslInvestors:
                  Use 19a     4 of Claimants/investors Paid This Reporting Period...                                      0
                  Line 19b    if of Claimants/Investors Paid Since Inception of Fund                                      0


                                                                                   Receiver:

                                                                                   By:
                                                                                               (signature)

                                                                                           Michael I. Goldbe
                                                                                            (printed name)

                                                                                           Court Appointed Receiver
                                                                                           (title)

                                                                                   Date:




                                                                        2
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  07/01/17 through 07/31/17



                                                                         USD
  Beginning Cash Balance
       People's United Bank 41=1736                                           3,413,662
       People's United Bank 411752
       People's United Bank 4t=7175                                              21,024
       People's United Bank 41111.0659                                          436,958
       People's United Bank 41=10667
       People's United Bank (16722                                            2,223,063
       People's United Bank #11111.1175
       People's United Bank 1416726                                              74,564
       People's United Bank I416724                                              20,930
       Desjardins 44M955                                                         63,177
       Desjardins #M548                                                          28,610
                                                                              6,281,988

  Add Incoming:
      Receiver Funding
            Direct - Merrill Lynch Bank Accounts               $
            Indirect - CitiBank Accounts                                        937,508
      Deposits from Operations                                                2,557,712 A
                                                                              3,495,220

  Less Outgoing:
       Payroll & Benefits
             Jay Peak Resort                                                 (1,318,466)
              Burke Mountain                                                   (217,602)
       Vendor Payments
             Jay Peak Resort                                                 (1,892,182) B
              Burke Mountain                                                   (268,157) B
       Tax Payments
             Vermont Department of Taxes                                       (149,047)
              Internal Revenue Service
       Merchant and Bank Fees                                                   (45,853)
                                                                             (3,891,307)

  Ending Cash Balance
      People's United Bank 4#1736                                             2,975,785
      People's United Bank 4=11752
      People's United Bank 4=7175                                                21,026
      People's United Bank #=0659                                               427,012
      People's United Bank 8=0667
      People's United Bank 446722                                             2,294,736
      People's United Bank (11175
      People's United Bank #(6726                                                73,427
      People's United Bank #6724                                                 22,514
      Desjardins #M955                                                           41,686
      Desjardins #M548                                                           29,715
                                                                              5,885,901



  Note A:
  Canadian transactions have been converted to US Dollars based upon the following methodology:

  The Canadian portion of total resort deposits was calculated to be 5% for the report period. This
  percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .79 for the
  report period.


  Note B:
  Vendor payments pertain primarily to goods and services received after April 13, 2016.
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  08/01/17 through 08/31/17



                                                                         USD
  Beginning Cash Balance
       People's United Bank 1#1=11736                                         2,975,785
       People's United Bank 1111752
       People's United Bank 1#=7175                                              21,026
       People's United Bank #=0659                                              427,012
       People's United Bank 80667
       People's United Bank 116722                                            2,294,736
       People's United Bank 111175
       People's United Bank 116726                                               73,427
       People's United Bank 15724                                                22,514
       Desjardins =955                                                           41,686
       Desjardins #M548                                                          29,715
                                                                              5,885,901

  Add Incoming:
      Receiver Funding
            Direct - Merrill Lynch Bank Accounts
            Indirect -CitiBank Accounts                                      7,466,092
      Deposits from Operations                                               3,334,356 A
                                                                            10,800,448

  Less Outgoing:
      Payroll & Benefits
            Jay Peak Resort                                                  (1,240,638)
            Burke Mountain                                                     (233,519)
      Vendor Payments
            Jay Peak Resort                                                  (7,018,398) 13
            Burke Mountain                                                   (2,222,973)
      Tax Payments
            Vermont Department of Taxes                                        (504,333)
            Internal Revenue Service
      Merchant and Bank Fees                                                    (52,225)
                                                                            (11,272,086)

  Ending Cash Balance
      People's United Bank 41111736                                           2,357,328
      People's United Bank 4=11752
      People's United Bank #1=117175                                             21,029
      People's United Bank 11=10659                                             429,690
      People's United Bank 4M0667
      People's United Bank #11=16722                                          2,417,549
      People's United Bank !l1175
      People's United Bank 11M16726                                              84,952
      People's United Bank 1l6724                                                27,525
      Desjardins =955                                                            46,485
      Desjardins #=48                                                            29,705
                                                                              5,414,263



  Note A:
  Canadian transactions have been converted to US Dollars based upon the following methodology:

  The Canadian portion of total resort deposits was calculated to be 8% for the report period. This
  percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .80 for the
  report period.


  Note B:
  Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
  2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
  prior to April 13, 2016.
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  09/01/17 through 09/30/17


                                                                         USD
  Beginning Cash Balance
       People's United Bank 14=1736                                            2,357,328
       People's United Bank #1752
       People's United Bank #1.11117175                                          21,029
       People's United Bank #MII0659                                            429,690
       People's United Bank #=0667
       People's United Bank #1111M6722                                         2,417,549
       People's United Bank 44M111175
       People's United Bank 1l1=116726                                           84,952
       People's United Bank 44116724                                             27,525
       Desjardins #I.955                                                         46,485
       Desjardins #I=548                                                         29,705
                                                                              5,414,263

  Add Incoming:
       Receiver Funding
             Direct- Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                     2,158,790
      Deposits from Operations                                                2,795,213 A
                                                           '   $              4,954,003

  Less Outgoing:
       Payroll & Benefits
             Jay Peak Resort                                                 (1,180,525)
             Burke Mountain                                                    (201,475)
      Vendor Payments
             Jay Peak Resort                                                 (2,909,162) B
             Burke Mountain                                                    (294,564) B
      Tax Payments
             Vermont Department of Taxes                                       (239,538)
             Internal Revenue Service                                            (3,311)
       Merchant and Bank Fees                                                   (59,622)
                                                                             (4,888,197)

  Ending Cash Balance
      People's United Bank #1736                                              4,095,794
      People's United Bank #MI1752
      People's United Bank #11M17175                                             21,031
      People's United Bank #0659                                                427,221
      People's United Bank IM0667
       People's United Bank tt6722                                              647,975
      People's United Bank #1111.1175
       People's United Bank 4.1111116726                                         85,238
       People's United Bank #16724                                               30,409
      Desjardins 1E955                                                          142,706
      Desjardins 4E548                                                           29,695
                                                                              5,480,069



  Note A:
  Canadian transactions have been converted to US Dollars based upon the following methodology:
  The Canadian portion of total resort deposits was calculated to be 7% for the report period. This
  percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .80 for the
  report period.


  Note B:
  Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
  2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
  prior to April 13, 2016.
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  Jay Peak Resort/Burke Mountain
  Cash Flow Statement
  10/01/17 through 10/31/17



                                                                         USD
  Beginning Cash Balance
       People's United Bank 4#1736                                            4,095,794
       People's United Bank #1752
       People's United Bank #7175                                                21,031
       People's United Bank #1=0659                                             427,221
       People's United Bank 11E0667
       People's United Bank 116722                                              647,975
       People's United Bank 111175
       People's United Bank #11=6726                                             85,238
       People's United Bank i16724                                               30,409
       Desjardins 4=955                                                         142,706
       Desjardins #111548                                     $                  29,695
                                                                              5,480,069


  Add Incoming:
       Receiver Funding
             Direct - Merrill Lynch Bank Accounts
             Indirect - CitiBank Accounts                                     1,710,270
       Deposits from Operations                                               4,095,468 A
                                                                              5,805,738


  Less Outgoing:
       Payroll & Benefits
             Jay Peak Resort                                                 (1,701,922)
             Burke Mountain                                                    (302,744)
       Vendor Payments
             Jay Peak Resort                                                 (5,562,646) B
             Burke Mountain                                                    (599,249) B
       Tax Payments
             Vermont Department of Taxes                                       (146,472)
             Internal Revenue Service
       Merchant and Bank Fees                                                   (60,954)
                                                                             (8,373,987)


  Ending Cash Balance
       People's United Bank 4111111736                                        1,563,087
       People's United Bank 11=1752
       People's United Bank I1=17175                                             21,034
       People's United Bank 410659                                              439,700
       People's United Bank 41=0667
       People's United Bank 46722                                               602,054
       People's United Bank 141175
       People's United Bank #111111116726                                        48,838
       People's United Bank #1=16724                                             29,026
       Desjardins IM955                                                         179,136
       Desjardins #M548                                                          28,945
                                                                              2,911,820



  Note A:
  Canadian transactions have been converted to US Dollars based upon the following methodology:

  The Canadian portion of total resort deposits was calculated to be 9% for the report period. This
  percentage was applied to all resort deposits at the average CON to USD currency exchange rate of .79 for the
  report period.


  Note B:
  Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
  2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
  prior to April 13, 2016.
